                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                               3:22-md-03036-RJC-DCK


                                   )
IN RE: GARDASIL PRODUCTS LIABILITY )                                     MDL No. 3036
LITIGATION                         )
                                   )                         THIS DOCUMENT RELATES TO
                                   )                                 ALL CASES
                                   )
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                                                  ORDER
       THIS MATTER comes before the court sua sponte. The Clerk of Court is directed to

administratively close all individual cases comprising this multidistrict litigation after

consolidation. The Clerk of Court shall also administratively terminate all pending motions in the

individual cases without prejudice to the parties’ rights to refile the motions as will be set forth in

further orders of the Court.

       SO ORDERED.


          Signed: September 12, 2022




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